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March 13, 2025                                                        Chicago         Riyadh
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Hon. Clifton Cislak                                                   Hamburg         Silicon Valley
Clerk of the Court                                                    Hong Kong       Singapore
                                                                      Houston         Tel Aviv
U.S. Court of Appeals                                                 London          Tokyo
  for the District of Columbia Circuit                                Los Angeles     Washington, D.C.
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                       Re:     United States et al. v. Google LLC, No. 25-5016 (Oral Argument Not Yet
                               Scheduled)

Dear Mr. Cislak:

      Pursuant to Rule 28(j), counsel for Apple writes in response to Plaintiffs’ notice of
supplemental authority. Contrary to Plaintiffs’ contentions, the Revised Proposed Final Judgments
(RPFJs) only underscore the district court’s error in denying Apple’s intervention motion.

        Plaintiffs’ RPFJ continues to single out Apple for unique and disfavored treatment. Under
the RPFJ, Google must not provide “anything of value to Apple” for default status or preferential
treatment. Pls.’ Revised PFJ, Dkt. No. 1184-1. But Plaintiffs now go further when it comes to
choice screens—a display in which users can select their own default search provider. Id. While
“Non-Apple Third Parties,” are permitted to receive payment for placement on choice screens
under certain conditions, Apple alone is categorically barred from receiving any “payments for
Choice Screens.” Id. at 26-30. Plaintiffs neither justify nor explain this differential treatment.
They instead continue to penalize Apple in the futile hope that Apple will create a general search
engine. See Pls.’ Exec. Summary, Dkt. No. 1184 at 13 (referencing Apple’s choice not to enter
the general search market). And the RPFJ does nothing to cure the Hobson’s Choice Apple faces:
Apple can either limit distribution of Google Search, harming both users and Apple itself, or it can
distribute Google for free, thereby providing Google a competitive advantage.

        Nor does the RPFJ support Plaintiffs’ fallback argument based on adequacy of
representation—which the district court did not adopt below. Pls.’ Letter at 1. Nothing in the
RPFJ suggests that Google will have the same incentive to defend Apple’s receipt of revenue for
distributing Google Search if or once default status is off the table. To the contrary, Google
continues to press its view that Apple should receive revenue for distributing Google Search only
if Google is afforded default status.
March 13, 2025
Page 2




        While Plaintiffs have tweaked it around the edges, Plaintiffs are still targeting Apple with
a unique and sweeping remedial proposal. It was not “clear” to Apple that Plaintiffs would pursue
such an extraordinary approach, thereby rendering Google unable to adequately represent Apple’s
interests. Apple therefore has a right to intervene.

                                                     Respectfully submitted,

                                                     /s/ Gregory G. Garre
                                                     Gregory G. Garre
                                                     of LATHAM & WATKINS LLP

cc:       Counsel of Record via CM/ECF
